Case 5:23-cv-01350-JKP-ESC Document 11-3 Filed 05/10/24 Page 1 of 10




             EXHIBIT A
     Case 5:23-cv-01350-JKP-ESC
           Case 5:23-cv-01350 Document
                                Document
                                       1 11-3
                                         Filed 10/25/23
                                               Filed 05/10/24
                                                         Page 1Page
                                                                of 7 2 of 10




                          UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                         §
 Global Weather Productions, LLC         §
                                         §
                      Plaintiff,         §
                                         § Case No: 5:23-cv-1350
              v.                         §
                                         §
 Joe Pags Media, LLC,                    §
                                         §
                    Defendant.           §
                                         §

                                         COMPLAINT
       Plaintiff Global Weather Productions, LLC (“Plaintiff”), by and through its undersigned

counsel, for its Complaint against defendant Joe Pags Media, LLC (“Defendant”) states and alleges

as follows:

                                       INTRODUCTION

       1.      This action seeks to recover damages for copyright infringement under the

Copyright Act, 17 U.S.C §101 et seq.

       2.      Plaintiff was assigned a video of water rescues on Interstate 30 in downtown Dallas

after a flash flooding in August 2022 (the “Video”) in which Plaintiff owns the rights and licenses

for various uses including online and print publications.

       3.      Defendant owns and operates a social media account on Facebook known as @Joe

Pags (“FB Account”).

       4.      Defendant, without permission or authorization from Plaintiff, actively copied

and/or displayed the Video on the FB Account and engaged in this misconduct knowingly and in

violation of the United States copyright laws.

                                            PARTIES

       5.      Plaintiff Global Weather Productions, LLC is a Wyoming Limited Liability

Company with a principal place of business in Sheridan, Wyoming.

       6.      Upon information and belief, Defendant Joe Pags Media, LLC, is a Texas Limited


                                                 1
     Case 5:23-cv-01350-JKP-ESC
           Case 5:23-cv-01350 Document
                                Document
                                       1 11-3
                                         Filed 10/25/23
                                               Filed 05/10/24
                                                         Page 2Page
                                                                of 7 3 of 10




Liability Company with a principal place of business at 287 Coyote Trail, Spring Branch in Comal

County, Texas.
                                 JURISDICTION AND VENUE

       7.       This Court has subject matter jurisdiction over the federal copyright infringement

claims pursuant to 28 U.S.C. §1338(a) and 28 U.S.C. §1331.

        8.      This Court has personal jurisdiction over Defendant because it maintains its

principal place of business in Texas.

        9.      Venue is proper under 28 U.S.C. §1391(a)(2) because Defendant does business in

this Judicial District and/or because a substantial part of the events or omissions giving rise to the

claim occurred in this Judicial District.

                             FACTS COMMON TO ALL CLAIMS

A.     Plaintiff's Copyright Ownership

       10.      Michael Brandon Clements (“Clements”) is a professional videographer by trade

who is the legal and rightful owner of certain videos which Plaintiff commercially licenses.

       11.      Clements has invested significant time and money in building his video portfolio.

       12.      Clements has obtained active and valid copyright registrations from the United

States Copyright Office (the “USCO”) which cover many of his videos while many others are the

subject of pending copyright applications.

       13.      Clement’s videos are original, creative works in which he owns protectable

copyright interests.

       14.      On August 22, 2022, Clements authored the Video. A copy of a screengrab from

the Video for reference is attached hereto as Exhibit 1.

       15.      In creating the Video, Clements personally selected the subject matter, timing,

lighting, angle, perspective, depth, lens and camera equipment used to capture the image. Clements

also selected the subject matter and all of the cinematic elements in the Video.

       16.      On September 1, 2022, the Video was registered by USCO under Registration No.

PA 2-374-324.


                                                  2
     Case 5:23-cv-01350-JKP-ESC
           Case 5:23-cv-01350 Document
                                Document
                                       1 11-3
                                         Filed 10/25/23
                                               Filed 05/10/24
                                                         Page 3Page
                                                                of 7 4 of 10




       17.     Clements created the Video with the intention of it being used commercially and

for the purpose of news reporting and documentation of a weather-related event in the Dallas area.
       18.     Clements assigned the copyright to the Video to Plaintiff by a written assignment

agreement.

B.     Defendant's Infringing Activity

       19.     The FB Account is a part of and used to advance Defendant's commercial

enterprise.

       20.     Defendant has exclusive access to post content to its FB Account.

       21.     The FB Account is monetized in that it promotes Defendant’s talk show and media

business and, upon information and belief, Defendant profits from these activities.

       22.     On or about August 23, 2022, Defendant displayed the Video on the FB Account

as part of an on-line post at URL https://www.facebook.com/watch/?v=429869679171943. A copy

of a screengrab of the Account including a still frame from the Video is attached hereto for

reference purposes as Exhibit 2.

       23.     Without permission or authorization from Plaintiff, Defendant volitionally copied

and/or displayed Plaintiff's copyright protected Video on the FB Account.

       24.     Plaintiff first observed and discovered the Infringement on August 24, 2022.

       25.     Upon information and belief, the Video was copied and displayed by Defendant

without license or permission, thereby infringing on Plaintiff's copyrights in and to the Video

(hereinafter all of the unauthorized uses set forth above are referred to as the “Infringement”).

       26.     The Infringement includes a URL (“Uniform Resource Locator”) for a fixed

tangible medium of expression that was sufficiently permanent or stable to permit it to be

communicated for a period of more than transitory duration and therefore constitutes a specific

infringement. 17 U.S.C. §106(5).

       27.     The Infringement is an exact copy of Plaintiff's original image that was directly

copied and displayed by Defendant on the FB Account.

       28.     Upon information and belief, Defendant takes an active and pervasive role in the


                                                 3
     Case 5:23-cv-01350-JKP-ESC
           Case 5:23-cv-01350 Document
                                Document
                                       1 11-3
                                         Filed 10/25/23
                                               Filed 05/10/24
                                                         Page 4Page
                                                                of 7 5 of 10




content posted on its FB Account, including, but not limited to copying, posting, selecting,

commenting on and/or displaying images including but not limited to Plaintiff's Video.
         29.   Upon information and belief, the Video was willfully and volitionally posted to the

FB Account by Defendant.

         30.   Upon information and belief, Defendant was aware of facts or circumstances from

which the determination regarding the Infringement was apparent. Defendant cannot claim that it

was not aware of the infringing activities, including the specific Infringement which form the basis

of this complaint, since such a claim would amount to only willful blindness to the Infringement

on the part of Defendant.

         31.   Upon information and belief, Defendant engaged in the Infringement knowingly

and in violation of applicable United States copyright laws.

         32.   Upon information and belief, Defendant has the legal right and ability to control

and limit the infringing activities on its FB Account and exercised and/or had the right and ability

to exercise such right.

         33.   Upon information and belief, Defendant monitors the content on its FB Account.

         34.   Upon information and belief, Defendant has received a financial benefit directly

attributable to the Infringement.

         35.   Upon information and belief, the Infringement increased traffic to the FB Account

and, in turn, caused Defendant to realize an increase in its advertising revenues and/or merchandise

sales.

         36.   Upon information and belief, a large number of people have viewed the unlawful

copies of the Video on the FB Account.

         37.   Upon information and belief, Defendant at all times had the ability to stop the

reproduction and display of Plaintiff's copyrighted material.

         38.   Plaintiff created the Video with the intention of it being used commercially and for

the purpose of display and/or public distribution.

         39.   Defendant's use of the Video harmed the actual market for the Video.


                                                 4
     Case 5:23-cv-01350-JKP-ESC
           Case 5:23-cv-01350 Document
                                Document
                                       1 11-3
                                         Filed 10/25/23
                                               Filed 05/10/24
                                                         Page 5Page
                                                                of 7 6 of 10




        40.      Defendant's use of the Video, if widespread, would harm Plaintiff's potential market

for the Video.
        41.      As a result of Defendant's misconduct, Plaintiff has been substantially harmed.

                                         FIRST COUNT
                      (Direct Copyright Infringement, 17 U.S.C. §501 et seq.)
        42.      Plaintiff repeats and incorporates by reference the allegations contained in the

preceding paragraphs, as though set forth in full herein.

        43.      The Video is an original, creative work in which Plaintiff owns a valid copyright.

        44.      The Video is properly registered with the USCO and Plaintiff has complied with

all statutory formalities under the Copyright Act and under regulations published by the USCO.

        45.      Plaintiff has not granted Defendant a license or the right to use the Video in any

manner, nor has Plaintiff assigned any of its exclusive rights in the copyright to Defendant.

        46.      Without permission or authorization from Plaintiff and in willful violation of

Plaintiff's rights under 17 U.S.C. §106, Defendant improperly and illegally copied, reproduced,

distributed, adapted, and/or publicly displayed works copyrighted by Plaintiff thereby violating

one of Plaintiff's exclusive rights in its copyrights.

        47.      Defendant's reproduction of the Video and display of the Video constitutes willful

copyright infringement.

        48.      Upon information and belief, Defendant willfully infringed upon Plaintiff's

copyrighted Video in violation of Title 17 of the U.S. Code, in that Defendant used, published,

communicated, posted, publicized, and otherwise held out to the public for commercial benefit,

Plaintiff's original and unique Video without Plaintiff's consent or authority, by using it on the FB

Account.

        49.      As a result of Defendant's violations of Title 17 of the U.S. Code, Plaintiff is entitled

to any an award of actual damages and disgorgement of all of Defendant's profits attributable to

the infringements as provided by 17 U.S.C. § 504 in an amount to be proven or, in the alternative,

at Plaintiff's election, an award for statutory damages against each Defendant for each infringement



                                                    5
     Case 5:23-cv-01350-JKP-ESC
           Case 5:23-cv-01350 Document
                                Document
                                       1 11-3
                                         Filed 10/25/23
                                               Filed 05/10/24
                                                         Page 6Page
                                                                of 7 7 of 10




pursuant to 17 U.S.C. § 504(c).

        50.     As a result of the Defendant's violations of Title 17 of the U.S. Code, the court in
its discretion may allow the recovery of full costs as well as reasonable attorney's fees and costs

pursuant to 17 U.S.C. § 505 from Defendant.

        51.     As a result of Defendant's violations of Title 17 of the U.S. Code, Plaintiff is entitled

to injunctive relief to prevent or restrain infringement of his copyright pursuant to 17 U.S.C. § 502.

                                          JURY DEMAND

        52.     Plaintiff hereby demands a trial of this action by jury.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests judgment as follows:

        That the Court enters a judgment finding that Defendant has infringed on Plaintiff's rights

to the Video in violation of 17 U.S.C. §501 et seq. and therefore award damages and monetary

relief as follows:

                a.      finding that Defendant infringed Plaintiff's copyright interest in and to the

                        Video by copying and displaying it without a license or consent;

                b.      for an award of actual damages and disgorgement of all of Defendant's

                        profits attributable to the infringements as provided by 17 U.S.C. § 504(b)

                        in an amount to be proven or, in the alternative, at Plaintiff's election, an

                        award for statutory damages against each Defendant for each infringement

                        pursuant to 17 U.S.C. § 504(c), whichever is larger;

                c.      for an order pursuant to 17 U.S.C. § 502(a) enjoining Defendant from any

                        infringing use of any of Plaintiff's works;

                d.      for costs of litigation and reasonable attorney's fees against Defendant

                        pursuant to 17 U.S.C. § 505;

                e.      for pre-judgment interest as permitted by law; and

                f.      for any other relief the Court deems just and proper.




                                                   6
    Case 5:23-cv-01350-JKP-ESC
          Case 5:23-cv-01350 Document
                               Document
                                      1 11-3
                                        Filed 10/25/23
                                              Filed 05/10/24
                                                        Page 7Page
                                                               of 7 8 of 10




DATED: October 25, 2023
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                                       7
        Case 5:23-cv-01350-JKP-ESC
             Case 5:23-cv-01350 Document
                                   Document
                                         1-1 11-3
                                              Filed Filed
                                                    10/25/23
                                                          05/10/24
                                                               PagePage
                                                                    1 of 19 of 10
                                                                    Case No.: 5:23-cv-1350
EXHIBIT 1: STILL FRAME OF VIDEO
         Case 5:23-cv-01350-JKP-ESC
               Case 5:23-cv-01350 Document
                                    Document
                                           1-211-3
                                                FiledFiled
                                                      10/25/23
                                                           05/10/24
                                                                 PagePage
                                                                      1 of 1
                                                                           10 of 10
                                                                      Case No.: 5:23-cv-1350
EXHIBIT 2: INFRINGEMENT
URL: https://www.facebook.com/watch/?v=429869679171943
